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                                 LAWRENCE M. FISHER
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                                                                       MEMO ENDORSED

Honorable Judge Katherine Polk Failla                                November 5, 2020
United States District Court Judge
500 Pearl Street
New York, N.Y. 10007

VIA ECF                                       Re:     U.S. v. Carlos Javier Velez
                                                      19-CR-891 (KPF)

Dear Judge Failla:

       As you are aware, I represent the above-named defendant who is currently at liberty on a
$25,000 PRB, secured by 2 FRP’s, with travel restricted to SDNY & EDNY and pre-trial
supervision.

       I submit this letter to request that the defendant be permitted to travel with his family on a
family vacation to Hollywood, Florida from November 13, 2020 until November 24, 2020.

       I have discussed this travel request with AUSA Brett Kalikow and US Pre-Trial Officer
Erin Cunningham each of whom consents to this request.



                                                              Respectfully Submitted,
                                                                     /S/
                                                              LAWRENCE M. FISHER, ESQ.
                                                              Attorney for Defendant



cc: A.U.S.A. Brett Kalikow
    US PTO Erin Cunningham


Application GRANTED.
                                                           SO ORDERED.
Dated:        November 5, 2020
              New York, New York


                                                           HON. KATHERINE POLK FAILLA
                                                           UNITED STATES DISTRICT JUDGE
